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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 STATE OF TEXAS, et al.                           §
     Plaintiffs,                                  §
 v.                                               §
                                                  §
 BUREAU OF ALCOHOL, TOBACCO,                      §       CIVIL ACTION NO.2:24-CV-00089-Z
 FIREARMS AND EXPLOSIVES, et al.                  §
     Defendants.                                  §


     PLAINTIFF TEXAS’ SUPPLEMENTAL BRIEFING IN SUPPORT OF STANDING

     Pursuant to this Court’s order, ECF No. 45, Texas submits the following briefing “explaining

and evidencing” its “basis for standing.” Id.

A. Texas Has Standing.

     Article III standing requires an injury in fact that is traceable to the defendant’s conduct and

redressable with a court order. See, e.g., TransUnion LLC v. Ramirez, 594 U.S. 413, 423

(2021). Texas satisﬁes each element.


I.      Texas will suffer direct economic harm if the Final Rule goes into effect because the
        State will lose tax revenue.

     Monetary harm “obvious[ly]” qualiﬁes as injury that confers standing. TransUnion LLC, 594

U.S. at 425. Texas stands to suﬀer direct harm to its State ﬁsc from the Final Rule in the form of a

pocketbook injury—“a prototypical form of injury in fact.” Collins v. Yellen, 141 S. Ct. 1761, 1779

(2021). For standing purposes, the exact cost is irrelevant. See Texas v. United States (DAPA), 809

F.3d 134, 155 (5th Cir. 2015). Indeed, the Court has made clear that even “a single dollar” of harm

is enough. Uzuegbunam v. Preczewski, 592 U.S. 279, 291 (2021). A future injury “may suﬃce if the



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threatened injury is certainly impending, or there is a substantial risk that the harm will

occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014).

    The Final Rule is expected to reduce the number of people who buy and sell ﬁrearms, period.

The Final Rule estimates that its implementation will reduce gun sales. See 89 Fed. Reg. 29,054

(contemplating 10% of currently unlicensed dealers leaving the market altogether). Between the

weekend of this ﬁling and the end of July 2024 alone, Texas has 58 gun shows calendared. 1 Texas

collects 6.25 percent state tax on taxable items sold—including guns sold at gun shows. 2

Unlicensed dealers exiting the market will inevitably result in less gun sales, and thus less tax

revenue collected by the state. See generally ECF No. 37–1. This is not speculative. The eﬀects of

the Final Rule are being realized by gun show promoters witnessing a signiﬁcant drop in gun show

attendance, vendor participation, and the overall willingness of private individuals to buy, sell, and

trade ﬁrearms. See Declaration of Darwin Doebeker ¶¶17–21 (“Ex. A”). Gun clubs expect a similar

decline in sales from both licensed and unlicensed sellers of ﬁrearms. See Declaration of Robyn M.

Sandoval ¶¶11–14, 17 (“Ex. B”). Naturally, this decline in consumer traﬃc and activity will lead to

a reduction in taxable transactions between vendors and consumers, reducing sales and use tax

revenue for the State of Texas. Ex. A ¶22; Ex. B¶¶ 15, 18; Declaration of Murl E. Miller (May 31,

2024) (“Ex. C”) ¶¶14–15. This decline in consumer traﬃc and activity also leads to a loss of

additional state and local tax revenues, including motor fuels taxes, entertainment taxes, alcoholic

beverage taxes, and hotel taxes, because of the decreased consumption of these taxable goods and

services by promoters, vendors, and attendees. Ex. C¶ 14–15. But this is no surprise. Rather, the


1
 https://gunshowtrader.com/gunshows/texas-gun-shows/.
2
 https://comptroller.texas.gov/taxes/publications/96-
211.php#:~:text=You%20must%20collect%20sales%20or,tax%20on%20your%20taxable%20sales.
                                                    2
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ATF admitted this was the expected eﬀect of the Final Rule. 89 Fed. Reg. at 29,054 (10% of

unlicensed sellers likely to be either “unwilling or unable to become licensed as an FFL as a result

of the [R]ule”) (emphasis added).

    Now, Defendants argue that the “10%” ﬁgure cited in the rule is actually “2.5%.”

        [W]hat the ATF actually explained was, in using subject matter experts, there’s a
        universe of unlicensed sellers currently selling ﬁrearms. And ATF estimated only
        25 percent of that universe would actually be impacted by the rule, i.e., unlicensed
        sellers who might be engaged in the business under the rule. And of that 25 percent
        subset, 10 percent of that group of people would then, according to ATF’s
        estimates, leave the market for ﬁrearms. So it’s 10 percent of a 20 percent ﬁgure, so
        2.5 percent, a much smaller ﬁgure than what Texas cites.

TRO Hearing Tr. (5/16/2024) 32:24–33:8 (emphasis added).

    But this argument centers on the extent of the harm, not the harm itself. Whether the number

of unlicensed sellers leaving the marketplace is 90%, 3 10%, or 2.5%, there is no minimum amount of

tax revenue that must be lost by Texas before it is considered an economic injury suﬃcient to confer

standing. See Rest. L. Ctr. v. United States Dep’t of Lab., 66 F.4th 593, 600 (5th Cir. 2023)

(“Stringently insisting on a precise dollar ﬁgure reﬂects an exactitude our law does not require.”);

see also Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1029 (8th Cir. 2014) (“a few pennies” is

enough). In fact, by arguing the extent of the harm, Defendants concede that there will be at least

some harm to Texas. In other words, it is “certainly impending,” Susan B. Anthony List, 573 U.S.

at 158, that people will “leave the market for ﬁrearms.” TRO Hearing Tr. (5/16/2024) 33:6; see also

Ex. A¶¶10–15, 17–21; Ex. B¶¶8–13, 17, 19–20; Ex. C¶ 15.




3
 See Ex. A ¶16 (“My experience leads me to believe that this 10% estimate is conservative, and sales could
decrease by an even greater percentage.”).

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      Aside from ATF’s admissions, this certainty is also borne out in the declaration of Darwin

Boedeker—a gun show promoter and avid gun show attendee who does not currently possess an

FFL. Ex. A ¶23. He states that be believes the Final Rule’s estimate of 10% to be conservative, and

that gun sales could decrease by an even greater percentage. Id. ¶16; see also Ex. B ¶16. Mr.

Boedeker, like many others, has bought and sold guns at gun shows but now states that he will no

longer buy or sell guns at gun shows because of the Final Rule—either because of the ﬁnancial

burden of obtaining an FFL, the threat of criminal prosecution, or both. Ex. A ¶24–26. That even

one person refuses to buy or sell one gun at one gun show because of the Final Rule—depriving

Texas of the 6.25% sales tax that would normally be collected on that transaction—is enough to give

Texas standing. See Uzuegbunam, 592 U.S. at 291.


II.      The injury to Texas is “fairly” traceable to the Final Rule and a favorable judgment
         from this Court will “likely” redress the harm.

      A plaintiﬀ’s injury must be “fairly” traceable to the defendant, and it must be “likely”

redressable by the relief that the plaintiﬀ seeks. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

When it comes to the “inherently imprecise” task of discerning traceability, “common sense” and

“basic economics” are “useful tool[s].” Carpenters Indus. Council v. Zinke, 854 F.3d 1, 6 (D.C. Cir.

2017) (Kavanaugh, J.). But for the Final Rule taking eﬀect, Texas would not suﬀer a loss to its State

ﬁsc because unlicensed sellers and other potential purchasers of ﬁrearms would not be forced from

the marketplace. See Ex. A ¶¶18–19, 21–22, 26; Ex. B¶¶ 8–13, 17, 19–20. See generally Ex. C.

      United States v. Texas, 599 U.S. 670 (2023), does not aﬀect the analysis of Texas’ standing here.

There, Texas and Louisiana challenged an immigration policy that prioritized which aliens were to

be arrested and removed from the country. Texas, 599 U.S. at 673. Texas and Louisiana claimed


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that the Department of Homeland Security’s Guidelines violated “federal statutes that

purportedly require[d] [DHS] to arrest more criminal noncitizens pending their removal.” Id.

at 673–74. The states asserted that “they must continue to incarcerate or supply social services

such as healthcare and education to noncitizens who should be (but are not being) arrested by the

Federal Government.” Texas, 599 U.S. at 674. The Court ultimately held that Texas and Louisiana

lacked standing to sue. Texas, 599 U.S. at 681. In a footnote, the Court noted that “when a State

asserts” that a federal law has produced only “indirect eﬀects on state revenues” the “State’s claim

for standing can become more attenuated.” Texas, 599 U.S. at 680 n.3.

   Despite the footnote, Texas turned mostly on the conclusion that “federal courts are generally

not the proper forum for resolving claims that the Executive Branch should make more arrests or

bring more prosecutions.” Id. at 680. In fact, the Court stressed that the decision was “narrow and

simply maintains the longstanding jurisprudential status quo.” Texas, 599 U.S. at 686. Standing was

improper in the case because of “both a highly unusual provision of federal law and a highly unusual

lawsuit.” Id. at 684; see also id. at 677 (“The States have not cited any precedent, history, or

tradition of courts ordering the Executive Branch to change its arrest or prosecution policies so that

the Executive Branch makes more arrests or initiates more prosecutions. On the contrary, this

Court has previously ruled that a plaintiﬀ lacks standing to bring such a suit.”). Yet far from the

“highly unusual” lawsuit at issue in that case—here, Texas alleges a “prototypical” pocketbook

injury that “obvious[ly]” qualiﬁes as an injury that confers standing. Collins, 141 S. Ct. at 1779;

TransUnion LLC, 594 U.S. at 425.

   What’s more, nothing in Texas holds that indirect eﬀects on a State’s ﬁsc can never establish

standing. The most it oﬀered was that “the State’s claim for standing can become more

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attenuated.” Texas, 599 U.S. at 680 n.3 (emphasis added). It primarily cited two cases to make this

point. In the ﬁrst, a State challenged the United States’ participation in a war. Com. of Massachusetts

v. Laird, 400 U.S. 886, 890 (1970) (Douglas, J., dissenting). 4 In the second, a State’s ﬁnancial injury

was based on “pur[e] speculat [ion]” that a challenged law would “induc[e] potential taxpayers to

withdraw property from the state, thereby diminishing the subjects upon which the state power of

taxation may operate.” State of Fla. v. Mellon, 273 U.S. 12, 17–18 (1927).

    That is not the case here. Rather than asserting some speculative downstream harm from the

loss of general tax revenue, Texas alleges a “direct injury in the form of a loss of speciﬁc tax

revenues.” Wyoming v. Oklahoma, 502 U.S. 437, 448 (1992); 5 Ex. C¶¶ 14–15 (sales and use tax),

(motor fuels tax), (entertainment tax), (alcoholic beverages tax), (hotel tax).

    In fact, the Supreme Court recently blessed some States’ claims for standing under a far more

tenuous threat of pocketbook harm. In Department of Commerce v. New York, a question arose about

whether States had standing to sue the federal government over a question about citizenship status

on the census because (1) “some” noncitizens might choose not to respond to the census

questionnaire in light of the question and (2) “if noncitizen households are undercounted by as




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  It is difficult to draw many conclusions from Laird, as it involved a summary denial of a State’s motion
for leave to file a complaint. Additionally, Justice Douglas’s dissent does not seem to address state standing
in terms of direct economic injury. Rather, it considered standing from the perspective of the State acting
as parens patriae, 400 U.S. at 887–91—a theory of standing Texas does not assert here.

5
  In Wyoming, the Court distinguished cases where States challenge actions that allegedly injure their
“economy,” which, in turn, “cause[] a decline in general tax revenues.” Wyoming v. Oklahoma, 502 U.S.
437, 448 (1992) (emphasis added). That describes Florida v. Mellon. Florida speculated that a federal
inheritance tax would prompt taxpayers to take independent action—“withdraw[ing] property from the
state”—which might result in less overall property to tax. Mellon, 273 U.S. at 17–18. Such an “indirect”
effect on Florida’s general tax revenues did not establish standing. Id. at 18. Here, however, Texas asserts
the loss of a specific tax revenues that will be caused by implementation of the Final Rule.
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little as 2% . . . [the States] will lose out on federal funds that are distributed on the basis of state

population.”Dep’t of Com. v. New York, 139 S. Ct. 2551, 2563, 2565 (2019) (emphasis added). The

Supreme Court held that plaintiﬀs had standing to challenge the reinstatement of a citizenship

question on the decennial census because there was a “suﬃcient likelihood” that reinstating the

question “would result in noncitizen households responding to the census at lower rates than other

groups, which in turn would cause them to be undercounted and lead to many of [plaintiﬀs’]

asserted injuries.” 139 S. Ct. at 2565. The Court rejected the federal government’s argument that

this theory of harm was too attenuated for standing because it ultimately depended on the voluntary

actions of third parties-the noncitizen households. Id. at 2566. Rather, the Court held that plaintiﬀs

had shown that these third parties “will likely react in predictable ways to the citizenship question”

based on their “historically” lower response rates. Id. This was not “mere speculation.” Id. It was

a reasonable assessment based on “predictable eﬀect of Government action.” Id.

    So too here, Texas stands to suﬀer direct pocketbook injury because of the entirely “predictable

[and admitted] eﬀect,” id. at 2566, the Final Rule will have on unlicensed sellers at gun shows and

individuals who are in the market of buying ﬁrearms. See 89 Fed. Reg. 29,054; Ex. A¶¶ 10–15, 17–

21,24–26; Ex. B ¶¶8–13, 17, 19–20; Ex. C ¶¶10–15;see also Texas v. Becerra, 577 F. Supp. 3d 527, 560

(N.D. Tex. 2021) (“That the plaintiﬀs have brought forth speciﬁc evidence and examples of how

they will be harmed . . . distinguishes this case from others where a third party’s actions might have

hurt the plaintiﬀ.”) (emphasis added).

    Finally, because Texas challenges government action, “[c]ausation and redressability typically

overlap as two sides of a causation coin.” El Paso Cnty. v. Trump, 408 F. Supp. 3d 840, 852 (W.D.

Tex. 2019) (citation omitted). So in the same way Texas’ pocketbook injury is “fairly traceable” to

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the implementation of the Final Rule, Texas has shown that its injury is “likely to be redressed by

a favorable judicial decision.” Spokeo, Inc., 578 U.S. 330. “After all, if a government action causes

an injury, enjoining the action usually will redress that injury.” El Paso Cnty. v. Trump, 408 F. Supp.

3d 840, 852 (W.D. Tex. 2019) (citation omitted). That is true here. The harm to Texas’ State ﬁsc

through the loss of tax revenue stems directly from the ATF’s pending enforcement of the federal

ﬁrearms statutes as “clariﬁed” by the illegal Final Rule. Ex. A ¶18–19, 21–22. In other words, all

the economic harm to Texas will be prevented—and thus remedied, by a postponement—and

ultimately a vacatur, of the Final Rule. 5 U.S.C. § 705; § 706.


B. Since Texas has Standing, all Plaintiffs Have Standing. And Relief Afforded Under 5
   U.S.C. § 705 Should not be Limited to the Parties.

   Because Texas has shown standing, all plaintiﬀs have standing. See McAllen Grace Brethren

Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014) (“It is well settled that once [courts] determine

that at least one plaintiﬀ has standing, [courts] need not consider whether the remaining plaintiﬀs

have standing to maintain the suit.”). And relief aﬀorded to the plaintiﬀs should not be limited to

the parties before this Court. See ECF No. 37 at 22–24. The speciﬁc relief aﬀorded under § 705

means that relief granted to one plaintiﬀ necessarily applies to everyone because it stops the

challenged rule from taking eﬀect. Career Colleges & Sch. of Tex. v. U.S. Dep’t of Educ., 98 F.4th 220,

255 (5th Cir. 2024) (“Nothing in the text of [§]705. . . suggests that either preliminary or ultimate

relief under the APA” must be “party-restricted”). Even states where the Final Rule is in eﬀect

should be included in this relief, since “[c]ourts — including the Supreme Court—routinely stay

already-eﬀective agency action under Section 705.” Texas v. Biden, 646 F. Supp. 3d 753, 770 (N.D.




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Tex. 2022), appeal dismissed, No. 23-10143, 2023 WL 5198783 (5th Cir. May 25, 2023) (collecting

cases).

                                         CONCLUSION

          For these reasons, this Court should continue to find, ECF No. 44 at 5, that Texas has

established standing—especially at this stage of the litigation. See Speech First, Inc. v. Fenves, 979

F.3d 319, 330 (5th Cir. 2020) (“At the preliminary injunction stage, the movant must clearly show

only that each element of standing is likely to obtain in the case at hand.”) (emphasis added); cf.

Texas v. EPA, 829 F.3d 405, 435 (5th Cir. 2016) (granting stay of agency action under 5 U.S.C.

§ 705 and applying preliminary injunction factors). Beyond that, this Court should grant

preliminary relief to all parties—even if they are not before this Court—by postponing the effective

date of the Final Rule under §705.




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 Date: May 31, 2024                            Respectfully submitted.

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                                CERTIFICATE OF SERVICE

   I certify that a true and accurate copy of this document was filed electronically (via CM/ECF)

on May 31, 2024.

                                            /s/Garrrett Greene_
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